                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF IOWA
                               CEDAR RAPIDS DIVISION

                                                      )
TRACEY K. KUEHL, et al.,                              )   Case No. C14-02034-JSS
                                                      )
                     Plaintiffs,                      )   [PROPOSED] ORDER ON
       v.                                             )   PLAINTIFFS’ FIRST MOTION IN
                                                      )   LIMINE TO EXCLUDE EXPERT
PAMELA SELLNER, et al.,                               )   TESTIMONY
                                                      )
                      Defendants.                     )

      [Proposed] Order Granting Plaintiffs’ First Motion in Limine to Exclude Expert
                                       Testimony

       Plaintiffs have moved this Court for an order granting their Motion in Limine to Exclude

Expert Testimony, seeking to prohibit Defendants’ proffered experts—the zoo owner and

operator (Defendant Ms. Sellner), the Zoo veterinarian (Dr. John Pries), and the Zoo nutritionist

(Dr. Gary Pusillo)—from testifying beyond the scope of opinion testimony allowed of fact

witnesses pursuant to FRE 701. Because Defendants failed to disclose their expert opinions as

required by Rule 26, the Court finds that to allow Defendants to testify beyond the scope of

opinion testimony would unfairly surprise and prejudice Plaintiffs at trial.



THEREFORE it is ordered this ___ day ______ 2015, that Plaintiffs’ Motion is ALLOWED.


                                                             __________________________
                                                             Jon S. Scoles
                                                             United States District Judge




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